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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

TRACY L. COLE                                       )
                                                    )
                   Plaintiff,                       )       Case No. 1:18-cv-05161
                                                    )
            v.                                      )       Honorable Robert M. Dow, Jr.
                                                    )
CONVERGENT OUTSOURCING, INC.                        )
                                                    )
                   Defendant.                       )

                                       INITIAL STATUS REPORT

            Pursuant to FED. R. CIV. P. 26(f) and this Court’s case management procedures, and in

preparation for the initial status hearing to be held on September 13, 2018, Plaintiff submits the

following initial status report:1

  I.        Nature of the Case

            A. Parties.

 For Plaintiff, Tracy L. Cole:                           For Defendant, Convergent Outsourcing, Inc.:
 Geoff B. McCarrell                                      Alisia Stephens
 CONSUMER LAW PARTNERS, LLC                              800 SW 39th Street
 333 N. Michigan Ave, Suite 1300                         Renton, WA 98057
 Chicago, Illinois 60601                                 Phone: (206) 264-1267
 Phone: (267) 422-1000                                   astephens@convergentusa.com
 geoff.m@consumerlawpartners.com

            B.   Nature of Claims Asserted. Plaintiff brings her complaint against Defendant for

alleged violations of the Fair Debt Collection Practices Act (“FDCPA”) and the Illinois Consumer

Fraud and Deceptive Business Practices Act, 815 ILCS 505/10a (“ICFA”). Specifically, Plaintiff

alleges that Defendant violated Sections 1692e, e(2)(A), e(10) and f of the FDCPA and Section


       1
        Plaintiff’s counsel reached out to Defendant concerning this initial status report and the scheduled
       hearing. It is Plaintiff’s counsel’s understanding that Defendant has not retained outside counsel yet.
       As such, Plaintiff files this report individually, without input from Defendant.
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815 ILCS 505/2 of the ICFA by attempting to collect a consumer debt from Plaintiff despite

omitting any disclosure whatsoever to Plaintiff concerning the time-barred status of the subject

debt, namely, that Plaintiff could no longer be sued in connection with the subject debt and/or that

any payment she made toward the subject debt, or even arranging to pay, could reset the applicable

statute of limitations as to the entire balance of the subject debt.

        C.   Factual/Legal Issues.

                   Plaintiff’s account/agreement with the original creditor of the subject debt;
                   Defendant’s agreement with the original creditor relating to the subject debt;
                   The date the subject debt was incurred and/or first went delinquent;
                   Communications made between the parties relating to the subject debt;
                   Whether Defendant undertook an effort to collect the subject debt through the
                    credit reporting at issue;
                   Whether Defendant undertook an effort to collect the subject debt during the
                    telephone conversation at issue;
                   Defendant’s policies, procedures and employee/agent training with respect to
                    maintaining compliance with the FDCPA; and
                   Plaintiff’s alleged actual damages.

        D. Relief Sought. Plaintiff seeks from Defendant: (i) actual damages; (ii) statutory

damages up to $1,000.00; and (iii) reasonable attorneys’ fees and costs. Defendant denies that

Plaintiff is entitled to the relief sought.

        E. General Status of Case. Plaintiff filed the instant lawsuit on July 27, 2018. Defendant

waived service of process and has until October 9, 2018 to file its answer. The parties have until

November 8, 2018 to serve responses to Mandatory Initial Discovery.


 II.    Pending Motions and Case Plan

        Initial Status Hearing: Thursday, September 13, 2018 at 9:00AM CDT

        A. Pending Motions: None.

        B. Previously Set Deadlines: None.




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III.    Remaining Discovery

        A. Recommended Discovery Plan:

             1. The parties anticipate requiring written discovery and depositions, non-expert only.

             2. Pleadings may be amended without leave of Court by: November 23, 2018

             3. The parties shall issue written discovery by: December 7, 2018

             4. The parties anticipate that a protective/confidentiality order may be needed.

             5. Fact Discovery Deadline: April 26, 2019

             6. The parties do not anticipate that expert discovery will be needed.

             7. Dispositive Motion Deadline: May 31, 2019

IV.     Trial. Tentative Trial Date: November 2019. Plaintiff has demanded a jury trial and the

parties anticipate the trial lasting no more than two (2) days.

 V.     Magistrate Judge. The parties do not unanimously consent to proceed before a Magistrate

Judge at this time.

VI.     Settlement Discussions.

        A.      On September 10, 2018, Plaintiff issued a written settlement demand to Defendant.

        B.      Plaintiff requests a settlement conference at or near the end of discovery.




 DATED this 11th day of September, 2018.              Respectfully Submitted,


                                                        /s/ Geoff B. McCarrell_________
                                                      Geoff B. McCarrell #0086427
                                                      CONSUMER LAW PARTNERS, LLC
                                                      333 N. Michigan Ave, Suite 1300
                                                      Chicago, Illinois 60601




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